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11                                    UNITED STATES DISTRICT COURT

12                                  NORTHERN DISTRICT OF CALIFORNIA

13                                            OAKLAND DIVISION

14   UNITED STATES OF AMERICA,                         ) CASE NO. 4:23-CR-00212 HSG
                                                       )
15           Plaintiff,                                )
                                                       )
16      v.                                             ) NOTICE RE: PLEA AGREEMENT
                                                       )
17   ANDREW JONES,                                     )
                                                       )
18           Defendant.                                )
                                                       )
19

20           The United States hereby files the attached executed plea agreement, which it anticipates the
21 defendant will enter in a plea hearing to be set at a later date.

22

23 DATED: July 13, 2023                                            ISMAIL J. RAMSEY
                                                                   United States Attorney
24
                                                                   /s/ Andrew Paulson
25
                                                                   ANDREW PAULSON
26                                                                 MOLLY K. PRIEDEMAN
                                                                   Assistant United States Attorneys
27

28

     NOTICE OF INTENT TO FILE EXECUTED PLEA AGREEMENT
     4:23-CR-0212 HSG                         1
30
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10
                                      UNITED STATES DISTRICT COURT
11
                                   NORTHERN DISTRICT OF CALIFORNIA
12
                                              OAKLAND DIVISION
13

14

15   UNITED STATES OF AMERICA,                        ) NO. 4:23-cr-00212-HSG
                                                      )
16           Plaintiff,                               ) PLEA AGREEMENT
                                                      )
17      v.                                            )
                                                      )
18   ANDREW JONES,                                    )
                                                      )
19           Defendant.                               )
                                                      )
20

21           I, Andrew Jones, and the United States Attorney’s Office for the Northern District of California
22 (hereafter “the government”) enter into this written Plea Agreement (the “Agreement”) pursuant to

23 Rule 11(c)(1)(A) and 11(c)(1)(B) of the Federal Rules of Criminal Procedure:

24 The Defendant’s Promises

25           1.      I agree to plead guilty to Counts One through Seven of the captioned Information
26 charging me with six counts of Sexual Abuse of a Ward, in violation of 18 U.S.C. § 2243(b), and one

27 count of False Statements to a Government Agency, in violation of 18 U.S.C. § 1001(a)(2). I agree that

28
     PLEA AGREEMENT                                  1                                          v. 10/14/2022
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 1 the elements of Sexual Abuse of a Ward are as follows: (1) I knowingly engaged in a sexual act with the

 2 victim; (2) at the time, the victim was in official detention at FCI Dublin; and (3) at the time, the victim

 3 was under my custodial, supervisory, or disciplinary authority.

 4          I agree that the maximum penalties for Sexual Abuse of a Ward are as follows:

 5          a.      Maximum prison term                                          15 years

 6          b.      Maximum fine                                                  $ 250,000

 7          c.      Restitution

 8          d.      Maximum supervised release term                               Life

 9          e.      Minimum supervised release term                               5 years

10          f.      Mandatory special assessment                                  $100 per felony count plus
                                                                                  $5,000 pursuant to 18 U.S.C.
11                                                                                § 3014

12          I agree that the elements of False Statements to a Government Agency are as follows: (1) I made

13 a false statement; (2) the statement was made in a matter within the jurisdiction of the Department of

14 Justice Office of Inspector General (DOJ OIG); (3) I acted willfully, that is, I acted deliberately and with

15 knowledge both that the statement was untrue and that my conduct was unlawful; (4) the statement was

16 material to the activities or decisions of the DOJ OIG, that is, it had a natural tendency to influence, or
17 was capable of influencing, the agency’s decisions or activities; and (5) the statement involved offenses

18 under Chapter 109A of Title 18 of the United States Code.

19          I agree that the maximum penalties are as follows:

20          a.      Maximum prison term                                          8 years

21          b.      Maximum fine                                                  $ 250,000

22          c.      Maximum supervised release term                              3 years

23          d.      Mandatory special assessment                                 $100 per felony count

24          I understand that I am pleading guilty to multiple violations and that the Court may order that my
25 sentence for each violation run consecutively.

26 //
27 //

28
     PLEA AGREEMENT                                   2                                          v. 10/14/2022
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 1         2.      I agree that I am guilty of the offenses to which I am pleading guilty, and I agree that the

 2 following facts are true:

 3                 a)     From May 24, 2020 until March 9, 2022, I served as a correctional officer at

 4         FCI Dublin, an all-female federal prison located in the Northern District of California. During

 5         that time, I served as a Cook Supervisor in the Food Services Department. In that role, I

 6         supervised inmates who worked in Food Services preparing meals for the female inmates. As a

 7         correctional officer, I was also able to discipline inmates, including by writing incident reports;

 8         search inmates’ cells; have their persons searched; monitor the inmates’ phone calls, video chats,

 9         and emails; and restrain the inmates using physical force, among other things.

10                 b)     Sexual Abuse of C.V. C.V. was an inmate who I supervised in the kitchen. On a

11         date between approximately July 1, 2020 and December 31, 2020, I instructed C.V. to go into the

12         staff bathroom in the kitchen while other inmates were eating in the dining room. Once inside

13         with C.V., I locked the door. I then kissed C.V. on her lips, and we touched one another in a

14         sexual manner. I then instructed C.V. to get on her knees while I stood in front of her. C.V. then

15         performed oral sex on me, causing contact between my penis and C.V.’s mouth. I ejaculated in

16         C.V.’s mouth and then cleaned myself with wipes.

17                 c)     The day after I received oral sex from C.V. as described in paragraph 2(b) above,

18         I again went to the staff bathroom in the kitchen at FCI Dublin with C.V. Once inside, I locked

19         the door. C.V. then performed oral sex on me while I stood and she kneeled in front of me. I

20         then directed C.V. to turn around and pull her pants down. She complied. I then had sexual

21         intercourse with C.V. by penetrating C.V.’s vulva with my penis.

22                 d)     On another date between approximately July 1, 2020 and December 31, 2020, I

23         entered the kitchen warehouse at FCI Dublin with C.V. Once inside, I had sexual intercourse

24         with C.V. by penetrating C.V.’s vulva with my penis.

25                 e)     In addition to the acts described in paragraphs 2(b)-(d), I had sexual intercourse

26         and received oral sex from C.V. on multiple other occasions between approximately July 1, 2020

27         and December 31, 2020.

28
     PLEA AGREEMENT                                  3                                           v. 10/14/2022
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 1              f)      Sexual Abuse of J.L. J.L. was an inmate who I supervised in the kitchen. She

 2       began working in the kitchen in approximately November 2020. After she started working in the

 3       kitchen, I began flirting with J.L. and sharing personal details about my life with her. On a date

 4       between approximately March 1, 2021 and May 31, 2021, I called J.L. from her housing unit to

 5       the kitchen. We entered the butcher freezer in the kitchen. I approached J.L. and lifted her shirt.

 6       I then touched J.L.’s breasts and sucked on her breasts.

 7              g)      On a date between approximately January 1, 2021 and June 30, 2021, I took J.L.

 8       to the Food Service warehouse, unlocked the warehouse door, told J.L. to wait for me in the

 9       warehouse, and then locked the door behind her. I then entered the warehouse through another

10       door that was attached to another correctional officer’s office. Once inside, I kissed J.L. on the

11       lips. I then had J.L. turn around and bend over. I pulled her pants down and had sexual

12       intercourse with J.L. by penetrating J.L.’s vulva with my penis. After having sexual intercourse

13       with J.L., J.L. turned around, knelt, and gave me oral sex while I stood, causing contact between

14       my penis and J.L.’s mouth. I then ejaculated in J.L.’s mouth.

15              h)      Sexual Abuse of R.C. R.C. was an inmate who I supervised in the kitchen. She

16       began working in Food Services in approximately March 2021. After she started working there,

17       I began flirting with her. On a date between approximately March 1, 2021 and April 30, 2021, I

18       was in the staff bathroom in the kitchen with R.C. On that occasion, she licked and kissed my

19       penis, causing contact between my penis and R.C.’s mouth.

20              i)      On a date between approximately March 1, 2021 and June 30, 2021, I entered a

21       room in the kitchen where R.C. was putting away cooking utensils. Once inside, I had sexual

22       intercourse with R.C. by penetrating R.C.’s vulva with my penis. We stopped having sex when I

23       heard someone approaching the room.

24              j)      On another date between approximately March 1, 2021 and June 30, 2021, I was

25       alone with R.C. in a bathroom near the kitchen. On that occasion, R.C. gave me oral sex and we

26       had sexual intercourse. In doing so, I caused contact between my penis and R.C.’s mouth and I

27       penetrated R.C.’s vulva with my penis.

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     PLEA AGREEMENT                               4                                           v. 10/14/2022
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 1                  k)       In addition to the three incidents described in paragraphs 2(h)-(j), I had sexual

 2          intercourse with R.C. on multiple other occasions between approximately March 1, 2021 and

 3          June 30, 2021.

 4                  l)       At the time of the incidents discussed above in paragraphs 2(b)-(k), I was

 5          employed as a correctional officer at FCI Dublin and C.V., J.L., and R.C. were inmates in

 6          official detention at FCI Dublin. Consequently, at the time of these incidents, C.V., J.L., and

 7          R.C. were under my custodial, supervisory, or disciplinary authority. At the time of these

 8          incidents, FCI Dublin was a United States federal prison.

 9                  m)       On March 11, 2022, I voluntarily spoke with special agents with the Department

10          of Justice Office of Inspector General (DOJ OIG). During that interview, I stated that I never

11          had sexual intercourse with C.V. That statement was false. In making this statement, I acted

12          willfully; that is, I acted deliberately and with knowledge both that the statement was untrue and

13          that my conduct was unlawful. My statement that I had never had sexual intercourse with C.V.

14          was made in a matter within the jurisdiction of the DOJ OIG. Moreover, the statement was

15          material to the activities or decisions of the DOJ OIG; that is, the statement had a natural

16          tendency to influence, or was capable of influencing the DOJ OIG’s decisions or activities.

17          Finally, the statement involved offenses under Chapter 109A of Title 18 of the United States

18          Code.

19          3.      I agree to give up all rights that I would have if I chose to proceed to trial, including the

20 rights to a jury trial with the assistance of an attorney; to confront and cross-examine government

21 witnesses; to remain silent or testify; to move to suppress evidence or raise any other Fourth or Fifth

22 Amendment claims; to any further discovery from the government; and to pursue any affirmative

23 defenses and present evidence.

24          4.      I agree to give up my right to appeal my convictions, including constitutional challenges

25 to the statutes of conviction. I agree to give up my right to appeal the judgment and all orders of the

26 Court. I also agree to give up my right to appeal any aspect of my sentence, including any orders
27 relating to forfeiture and/or restitution, reserving only my right to claim that my sentence violated this

28
     PLEA AGREEMENT                                    5                                           v. 10/14/2022
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 1 plea agreement, applicable law, or the Constitution. I reserve my right to claim that my counsel was

 2 ineffective. I understand that this waiver includes, but is not limited to, any and all constitutional or

 3 legal challenges to my convictions and guilty pleas, including arguments that the statutes to which I am

 4 pleading guilty are unconstitutional, and any and all claims that the statement of facts provided herein is

 5 insufficient to support my pleas of guilty.

 6          5.      I agree not to file any collateral attack on my convictions or sentence, including a petition

 7 under 28 U.S.C. § 2255 or 28 U.S.C. § 2241, except that I reserve my right to claim that my counsel was

 8 ineffective.

 9          6.      I agree not to ask the Court to withdraw my guilty pleas at any time after they are

10 entered. In the event I violate any of the terms of the Agreement, I agree that the facts set forth in

11 Paragraph 2 of this Agreement and, if applicable, the fact that I made a sworn admission to them in a

12 previous court proceeding, shall be admissible against me in any subsequent proceeding, including at

13 trial. In any subsequent proceeding conducted after I violate any of the terms of the Agreement, I

14 expressly waive any and all rights under Fed. R. Crim. P. 11(f) and Fed. R. Evid. 410 with regard to the

15 facts set forth in Paragraph 2 of the Agreement and, if applicable, the fact that I made a sworn admission

16 to them at a previous court proceeding.
17          7.      I understand that the Court must consult the United States Sentencing Guidelines and

18 take them into account when sentencing, together with the factors set forth in 18 U.S.C. § 3553(a). I

19 also understand that the Court is not bound by the Guidelines calculations below; the Court may

20 conclude that a higher Guidelines range applies to me, and, if it does, I will not be entitled, nor will I

21 ask, to withdraw my guilty pleas. I further agree that regardless of the sentence that the Court imposes

22 on me, I will not be entitled, nor will I ask, to withdraw my guilty pleas. I agree that the Sentencing

23 Guidelines offense level should be calculated as set forth below, and that I will not request a downward

24 departure under the Sentencing Guidelines from that offense level although I reserve the right to seek a

25 downward variance based on the factors set forth in 18 U.S.C. § 3553(a). I understand that the

26 government is free to oppose any such request. The parties have reached no agreement regarding my
27 Criminal History Category.

28
     PLEA AGREEMENT                                   6                                           v. 10/14/2022
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 1          a.      Base Offense Level, Group 1 (Counts 1 and 7), U.S.S.G. § 2J1.2(b)(1):                     18

 2          b.      Base Offense Level, Group 2 (Count 2), U.S.S.G. § 2A3.3:                                  14

 3          c.      Base Offense Level, Group 3 (Count 3), U.S.S.G. § 2A3.3:                                  14

 4          d.      Base Offense Level, Group 4 (Count 4), U.S.S.G. § 2A3.3:                                  14

 5          e.      Base Offense Level, Group 5 (Count 5), U.S.S.G. § 2A3.3:                                  14

 6          f.      Base Offense Level, Group 6 (Count 6), U.S.S.G. § 2A3.3:                                  14

 7          g.      Multiple Count Adjustment, U.S.S.G. §§ 3D1.4(a), (b):
                    Greater of Adjusted Offense Levels:                                                       18
 8                  Increase in Offense Level:                                                                +5
                    Combined Adjusted Offense Level:                                                          23
 9
            h.      Acceptance of Responsibility:                                                             -3
10                  If I meet the requirements of U.S.S.G. § 3E1.1, I may be entitled to a
                    three-level reduction for acceptance of responsibility, provided that I
11                  forthrightly admit my guilt, cooperate with the Court and the Probation
                    Office in any presentence investigation ordered by the Court, and continue
12                  to manifest an acceptance of responsibility through and including the time
                    of sentencing.
13
            i.      Adjusted Offense Level:                                                                   20
14
            8.      I agree that regardless of any other provision of this Agreement, the government may and
15
     will provide the Court and the Probation Office with all information relevant to the charged offenses and
16
     the sentencing decision, including Victim Impact Statements. I agree that, based on the nature of the
17
     offense, the Court should impose the following special condition of supervised release which is
18
     reasonably related to deterrence and rehabilitation:
19
                    Special Condition (Searches)
20                  The defendant shall submit his person, residence, office, vehicle, electronic devices and
                    their data (including cell phones, computers, and electronic storage media), and any
21                  property under defendant’s control to a search. Such a search shall be conducted by a
                    United States Probation Officer or any federal, state, or local law enforcement officer at
22                  any time, with or without suspicion. Failure to submit to such a search may be grounds
                    for revocation; the defendant shall warn any residents that the premises may be subject to
23                  searches.

24
            9.      I agree that I will make a good-faith effort to pay any fine, forfeiture, or restitution I am
25
     ordered to pay. I agree to pay the special assessment at the time of sentencing.
26
            I agree to pay full restitution for all losses caused by all the schemes or offenses with which I
27
     was charged in this case, and I understand that the amount of restitution will not be limited to the loss
28
     PLEA AGREEMENT                                    7                                           v. 10/14/2022
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 1 attributable to the counts to which I am pleading guilty, pursuant to 18 U.S.C. § 3663(a)(3). I

 2 understand that the Court will not consider my economic circumstances in determining the restitution

 3 amount. I agree to pay restitution in an amount to be set by the Court at the time of sentencing.

 4          Any restitution payments shall be paid through the Office of the Clerk of the District Court by

 5 bank or cashier’s check or money order made payable to the “Clerk, United States District Court.”

 6          I understand that the restitution described above creates a lien in favor of the United States on all

 7 property and rights to property I may possess upon entry of judgment and continues for the later of 20

 8 years from the entry of judgment or 20 years after release from imprisonment or until the debt is paid in

 9 full. I further understand the government will record a notice of the lien in any county where I reside or
10 have property. I further understand that this order of restitution cannot be discharged in bankruptcy and

11 that if I default on the payment of a fine or restitution, the Court may revoke probation or a term of

12 supervised release, modify the terms or conditions of probation or supervised release, resentence me,

13 hold me in contempt of court, order the sale of property, enter or adjust a payment schedule, or take any

14 other action necessary to obtain compliance.

15          Within thirty days of the execution of this Plea Agreement, if asked by the Financial Litigation

16 Unit (“FLU”) of the United States Attorney’s Office, I agree to complete, under penalty of perjury, a
17 financial statement provided by the U.S. Attorney’s Office and to update that statement with material

18 changes within seven days of the change. I understand that I must identify all assets and financial

19 interests valued at more than $1,000. I further understand that these assets and financial interests

20 include all assets and financial interests in which I have an interest, direct or indirect, whether held in

21 my own name or in the name of another, in any property, real or personal.

22          I agree to surrender assets I obtained as a result of my crimes, and release funds and property

23 under my control in order to pay any fine, forfeiture, or restitution. I further agree to notify the FLU

24 before transferring any interest in property owned directly or indirectly by me, including any interest

25 held or owned under any other name or entity, including trusts, partnerships, and/or corporations. I also

26 agree to notify the FLU of any interest in property I may obtain, directly or indirectly, which is valued at
27 more than $1,000, and which includes any interest obtained under any other name, or entity, including a

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     PLEA AGREEMENT                                   8                                           v. 10/14/2022
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 1 trust, partnership, or corporation, after the execution of this Plea Agreement until the fine or restitution

 2 is paid in full.

 3          I agree that any fine, forfeiture, or restitution imposed by the Court against me will be due

 4 immediately and subject to immediate enforcement by the government as authorized by 18 U.S.C.

 5 § 3613. I further understand that the government may seek immediate collection of the entire fine,

 6 forfeiture, or restitution from any assets without regard to any schedule of payments imposed by the

 7 Court or established by the Probation Office and that monetary penalties imposed by the Court will be

 8 submitted to the Treasury Offset Program so that any federal payment or transfer of returned property I

 9 receive may be offset and applied to federal debts.
10          10.       I agree not to commit or attempt to commit any crimes before sentence is imposed or

11 before I surrender to serve my sentence. I also agree not to violate the terms of my pretrial release; not

12 to intentionally provide false information to the Court, the Probation Office, Pretrial Services, or the

13 government; and not to fail to comply with any of the other promises I have made in this Agreement. I

14 agree not to have any contact with any victims or witnesses in this case, either directly or indirectly,

15 before and after I am sentenced. This includes, but is not limited to, personal contact, telephone, mail,

16 or electronic mail contact, or any other written form of communication, and includes any harassing,
17 annoying, or intimidating conduct by me directed to any victims or witnesses. I agree that the Court

18 may also include this no-contact provision as a condition of my supervised release term. I agree that if I

19 fail to comply with any promises I have made in this Agreement, then the government will be released

20 from all of its promises in this Agreement, including those set forth in The Government’s Promises

21 Section below, but I will not be released from my guilty pleas.

22          11.       Understanding that the government has in its possession digital devices and/or digital

23 media belonging to and seized from me, I waive any right to the return of digital data contained on those

24 digital devices and/or digital media and agree that if any of these digital devices and/or digital media are

25 returned to me, the government may delete all digital data from those digital devices and/or digital

26 media before they are returned to me.
27          12.       I agree that this Agreement contains all of the promises and agreements between the

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     PLEA AGREEMENT                                    9                                          v. 10/14/2022
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 1 government and me, and I will not claim otherwise in the future. No modification of this Agreement

 2 shall be effective unless it is in writing and signed by all parties.

 3          13.     I agree that the Agreement binds the U.S. Attorney’s Office for the Northern District of

 4 California only, and does not bind any other federal, state, or local agency.

 5 The Government’s Promises

 6          14.     The government agrees not to file any additional charges against the defendant that could

 7 be filed as a result of the investigation that led to the captioned Information.

 8 The Defendant’s Affirmations

 9          15.     I confirm that I have had adequate time to discuss this case, the evidence, and the

10 Agreement with my attorney and that my attorney has provided me with all the legal advice that I

11 requested.

12          16.     I confirm that while I considered signing this Agreement, and at the time I signed it, I

13 was not under the influence of any alcohol, drug, or medicine that would impair my ability to understand

14 the Agreement.

15          17.     I confirm that my decision to enter guilty pleas is made knowing the charges that have

16 been brought against me, any possible defense, and the benefits and possible detriments of proceeding to

17 trial. I also confirm that my decision to plead guilty is made voluntarily, and no one coerced or
                    enter
18 threatened me to ent
                      ter into thiss Agreement.

19
20 Dated:
                                                                   ANDREW
                                                                   ANDRREW JONES
21                                                                 Defendant
                                                                   Defend
                                                                       ndant
                                                                       nd

22
                                                                   ISMAIL J. RAMSEY
                                                                              RAMS
                                                                              RA MSE
                                                                                 MS  EY
23                                                                 United States Attorney

24
     Dated: -XO\
25                                                                 ANDREW PAU PAULSON
                                                                               AUULSON
                                                                   MOLLY K. PRIEDEMAN
26                                                                 Assistant United States Attorneys

27          18.     I have fully explained to my client all the rights that a criminal defendant has and all the

28
     PLEA AGREEMENT                                   10                                          v. 10/14/2022
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 1 terms of this Agreement. In my opinion, my client understands all the terms of this Agreement and all

 2 the rights my client is giving up by pleading guilty, and, based on the information now known to me, my
                                                          ary.
 3 client’s decision to plead guilty is knowing and voluntary.

 4

 5 Dated:     July 11, 2023
                                                                 GALIA
                                                                 GA
                                                                 GALIA A Z.
                                                                         Z AMRAM
 6                                                               Attorney
                                                                 Attorney for Defendant

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     PLEA AGREEMENT                                11                                       v. 10/14/2022
